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         IN THE UNITED STATES DISTRICT COURT
       FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Bruce Barnauskas, et al,              Docket 3:19-cv-01160-WIA
     Plaintiffs
                                      (M.J. ARBUCKLE)
v.

Chase Bank, USA, N.A.,
    Defendant                         FILED ELECTRONICALLY

                   STIPULATION OF DISMISSAL

     Please dismiss this action without costs and without prejudice.

s/ Brett Freeman                      s/ Jenny N. Perkins (with consent)
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